This is a companion case to Jenkins v. Board of CivilService Commission, (Civil No. 9356) ante, p. 410 [30 P.2d 606], the opinion in which last-named case has been this day filed. *Page 415 
 [1] The pleadings, evidence, findings, judgments and briefs in the two cases are practically the same. Plaintiff herein was employed as a carpenter foreman in charge of the construction work on substation No. 4. Plaintiff's employment was terminated at the time of the termination of the employment of the plaintiff in the Jenkins case. The construction work on said substation upon which plaintiff was engaged had been completed at that time and there was but one other substation still under construction. The evidence herein regarding lack of work and lack of funds amply supports the findings on these issues and the trial court properly denied the writ.
The judgment is affirmed.
Nourse, P.J., and Sturtevant, J., concurred.